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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                     Chapter 7
 In re:                                              (Previously Chapter 11)

 Mountain Express Oil Company, et al.,               Case No. 23-90147 (DRJ)

                        Debtors.                     Jointly Administered


                 TIME AND WATER, LLC’S EMERGENCY MOTION FOR
                 ENTRY OF AN ORDER DIRECTING THE TRUSTEE TO
                         EXECUTE A CORRECTIVE DEED

     THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
     OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY
     TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU
     MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST FILE
     AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON
     YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED.
     IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
     FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED
     AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
     OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY
     DECIDE THE MOTION AT THE HEARING.

     REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

     EMERGENCY RELIEF HAS BEEN REQUESTED. RELIEF IS REQUESTED NOT LATER
     THAN ON OR BEFORE JANUARY 24, 2024. IF THE COURT CONSIDERS THE MOTION ON
     AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS TO ANSWER. IF
     YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU BELIEVE THAT THE
     EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU SHOULD FILE AN
     IMMEDIATE RESPONSE.


          Time and Water, LLC (“T&W”), by and through its undersigned counsel, files this

Emergency Motion For Entry Of An Order Directing The Trustee To Execute A Corrective Deed

(the “Motion”). In support of the Motion, T&W respectfully states as follows:

                                    RELIEF REQUESTED

          1.    T&W seeks entry of an order, substantially in the form attached hereto as Exhibit

A (the “Proposed Order”), directing Janet S. Northrup, the Chapter 7 Trustee (the “Trustee”) of
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the jointly administered bankruptcy estates of Mountain Express Oil Company, et al. (collectively

“MEX” or “Debtors”), to execute a corrective deed on behalf of seller/debtor WebsterP, LLC

(“WebsterP” or the “Seller”) with respect to certain real property located at 2193 Highway 532

Minden, Louisiana 71055 (the “Property”).

                                        JURISDICTION AND VENUE

         2.       The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This matter is a core

proceeding within the meaning of 28 U.S.C. § 157(b)(2).1

         3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         4.       The statutory and other bases for the relief requested in this Motion is

section 105(a) of title 11 of the United States Code (the “Bankruptcy Code”).

                                                 BACKGROUND

    1. The Bankruptcy Filing, Chapter 7 Conversion, and Trustee Appointment

         1.       On March 18, 2023 (the “Petition Date”), the Debtors filed these jointly

administered chapter 11 cases. The Debtors operated their business and managed their properties

as debtors and debtors in possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code

until the Chapter 11 Trustee was appointed on August 17, 2023.

         2.       MEX is the Borrower under that certain First Amended and Restated Credit

Agreement dated as of March 12, 2020 (the “Prepetition Credit Agreement”), among MEX (the

“Prepetition Borrower”), certain of the other Debtors (the “Prepetition Guarantors”), certain


1
  T&W agrees to the Court’s jurisdiction for purposes of this Motion only. This Motion is not intended to be, and shall
not be construed as, (i) an admission as to the jurisdiction of this Court and/or a waiver to contest the jurisdiction of
this Court with respect to any other matter unrelated to the Motion involving T&W (on the one hand) and the Trustee
and Debtors or their estates (on the other hand), or (ii) a waiver of the right to trial by jury in this Court or any other
court in any proceeding with respect to any other matter unrelated to the Motion involving T&W (on the one hand)
and the Trustee and Debtors or their estates (on the other hand).



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lenders (the “Prepetition Lenders”), and First Horizon Bank (in its capacity as administrative agent

and a lender, the “Prepetition Agent”) with respect to a secured term loan and revolving credit

facility (the “Prepetition Loan Facility”).

       3.      Pursuant to interim and final orders entered by the Court on March 23, 2023 and

April 25, 2023, respectively, the Debtors were authorized to obtain postpetition financing,

consisting of senior secured super-priority, multi-draw term loans in the aggregate maximum

principal amount of $37,850,000 from certain lenders (collectively, the “DIP Lenders”), under a

facility (the “DIP Facility”) administered by the Prepetition Agent, as administrative agent and a

lender (the “DIP Agent”) [Docket Nos. 117 & 332]. On July 19, 2023, the Court entered an order

approving an amendment to increase the maximum principal amount under the DIP Facility to

$46,850,000 [Docket No. 1044].

       4.      On August 17, 2023, following the Court’s Order Directing the Appointment of a

Chapter 11 Trustee [Docket No. 1284], the United States Trustee filed a Notice of Appointment

of Chapter 11 Trustee [Docket No, 1286], and appointed Janet S. Northrup to serve as the chapter

11 trustee in these cases.

       5.      Ultimately, on August 24, 2023 (the “Conversion Date”), upon its own motion and

the Chapter 11 Trustee’s request, the Court converted these cases to cases under chapter 7 of the

Bankruptcy Code [Docket No. 1397]. Thereafter, Janet Northrup was also appointed the Chapter

7 Trustee [Docket No. 1398].

       6.      On August 26, 2023, the Trustee filed a motion seeking authority to operate the

Debtors’ businesses on a limited basis, in order to preserve and protect assets of the Debtors’

estates, to preserve and protect the Debtors’ records, all in order to preserve the value of the

Debtors’ assets and protect the interest of the Debtors’ creditors and stakeholders (“Motion to




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Operate”) [Docket No. 1407]. The Court entered an order granting the Motion to Operate on

August 29, 2023 [Docket No. 1421].

   2. The Sale of the Property from Seller to T&W

       7.       On or around March 31, 2022, WebsterP (i.e., the Seller) sold the Property to T&W

for $500,000 (the “Sale”). See Exhibit B (Declaration of Neil Lansing (“Lansing Declaration” or

“Lansing Decl.”), ¶¶ 6 & 8).

       8.       Fidelity National Title Insurance Company (the “Title Company”) acted as the

escrow and closing agent, as well as issuer of the Title Policy (as defined below), for the Sale.

Lansing Decl. ¶ 4.

       9.       The Sale is evidenced by a number of customary real estate closing documents

(collectively, the “Transaction Documents”), including:

            x   that certain Act of Sale, dated as of March 28, 2022 and recorded on April 18, 2022,

                by and between WebsterP, as seller, and T&W, as purchaser (the “Deed”), attached

                as Annex 1 to the Lansing Declaration;

            x   the ALTA/NSPS Land Title Survey prepared by American Surveying & Mapping,

                Inc., Michael O. Cook, PLS No. 4879, dated March 16, 2022, last revised March

                31, 2022, Job No. 22-0319.1, (the “Survey”), attached as Annex 2 to the Lansing

                Declaration;

            x   the ALTA Owner’s Policy of Title Insurance, issued by the Title Company on April

                18, 2022 to T&W, Policy No. LA252201023J (the “Title Policy”), attached as

                Annex 3 to the Lansing Declaration;




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             x   the Owner’s Title Affidavit, dated as of March 30, 2022, executed by Dennis Kirk,

                 in his capacity as Manager of WebsterP (the “Seller’s Title Affidavit”), attached as

                 Annex 4 to the Lansing Declaration;

             x   the Affidavit and Indemnity Agreement, dated as of April __, 2022, executed by

                 Clair F. White, in her capacity as manager of WebsterP (the “Affidavit and

                 Indemnity Agreement”), attached as Annex 5 to the Lansing Declaration;

             x   the 1099-S Real Estate Transaction Form (“Form 1099-S”), attached as Annex 6 to

                 the Lansing Declaration;

             x   the Company Resolutions of WebsterP, authorizing the sale (the “Resolutions”),

                 attached as Annex 7 to the Lansing Declaration;

             x   the Buyer/Seller Disbursement Statement (the “Closing Statement”), dated March

                 31, 2022, showing the disbursements to WebsterP from T&W, attached as Annex

                 8 to the Lansing Declaration;

             x   T&W’s account activity summary showing withdrawals on April 4, 2022 for the

                 wire transfer to the Title Company (the “Wire Confirmation #1”), attached as

                 Annex 9 to the Lansing Declaration; and

             x   the April 5, 2022 notification of wire transfer credit to MEX from the Title

                 Company into an account controlled by the Prepetition Agent in connection with

                 the closing of the Sale (the “Wire Confirmation #2”; and together with Wire

                 Confirmation #1, the “Wire Confirmations”), attached as Annex 10 to the Lansing

                 Declaration.

       10.       Upon the closing of the Sale, T&W owned and operated the Property, including

having invested hundreds of thousands of dollars into repairs, environmental remediation and other



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capital expenditures related to the Property. See Exhibit C (Declaration of Turjo Wadud (“Wadud

Declaration” or “Wadud Decl.”), ¶ 4).

       3. T&W Selling the Property & Discovering Title Defect

          11.    Given that T&W (a) relied on the Debtors to supply fuel to the Property, (b) rented

the Property to MEX (who defaulted on its lease obligations), and (c) is owed money by the Seller

as a result, T&W began contemplating strategic alternatives for the Property. Wadud Decl. ¶ 5.

One of those alternatives was a sale of the Property. Wadud Decl. ¶ 5.

          12.    October 27, 2023, T&W entered into a confidential purchase agreement (subject to

completion of due diligence) to sell the Property to a third-party buyer (the “Buyer”). Wadud Decl.

¶ 6.

          13.    In connection with the pending sale, T&W learned through the Buyer’s diligence

process that a small sliver of the Property (the “Sliver Parcel”) was never properly conveyed to

T&W when T&W purchased the Property in 2022. Lansing Decl. ¶¶ 9-10.

          14.    Not only does the Seller’s Title Affidavit set forth that the Seller owned and was

conveying the entirety of the Property to T&W, the Title Policy insures T&W from any defects in

title to the whole Property, including the Sliver Parcel. See Lansing Decl. at Annexes 3 & 4.

       4. The Trustee’s Refusal to Execute the Corrective Deed

          15.    Upon discovering the Seller’s failure to deed the entirety of the Property to T&W,

T&W (through its real estate counsel, Mr. Neil Lansing) asked the Trustee (through her counsel)

to execute a corrective deed to ensure the Sliver Parcel was correctly and properly conveyed to

T&W. Lansing Decl. ¶ 12. This request was made on December 11, 2023. Lansing Decl. ¶ 12.

          16.    The Trustee’s counsel said that they would need to check with the Trustee’s special

counsel, who also happens to be counsel to the Prepetition Agent (who has threatened litigation




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against the owners of T&W and the former principals of the Debtors for months). Lansing Decl. ¶

12.

       17.     In a series of subsequent email exchanges with undersigned counsel, the Trustee’s

special counsel requested documentation related to the Sale, which T&W quickly provided.

Lansing Decl. ¶ 13. T&W furnished the Trustee with the Transaction Documents, including the

Survey, the Affidavit and Indemnity Agreement, the Seller’s Title Affidavit, the Title Policy, the

Deed, the Closing Statement, and the Wire Confirmations showing that T&W paid $500,000 to

the Seller. Wadud Decl. 7.

       18.     Notwithstanding T&W providing this information to special counsel for the Trustee

(which was also in the Trustee’s possession from the outset), the Trustee has inexplicably refused

to execute a corrective deed that is consistent with, and required by, the Transaction Documents

(including the Affidavit and Indemnity Agreement and the Seller’s Title Affidavit) and Title Policy

to convey the Sliver Parcel.

       19.     Specifically, the Affidavit and Indemnity Agreement provides that the Seller (a

debtor) “is the lawful owner in fee simple title” of the entire Property, including the Sliver Parcel.

Moreover, the Seller must “pay, discharge, satisfy or remove any defects, liens, encumbrances,

adverse claims or other matters, if any,” with respect to “the assertion or enforcement or attempted

assertion or enforcement thereof or of any rights existing or hereinafter arising or which may be

claimed to exist under, or by reason of, or in consequence of, or growing out of any defects, liens,

encumbrances, adverse claims or other matters any defects, liens, encumbrances, adverse claims

or other matters. . . .” ¶¶ 1, 3. This would include any assertion by the Trustee that the Seller still

owns Property.




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       20.     Additionally, the Seller must indemnify and hold harmless the Title Company for

defending title to the Property and enforcing the Affidavit and Indemnity Agreement. Thus, the

Trustee has an obligation to correct the title and pay the costs of the Title Company (and T&W)

for having to clear up the title to the Property.   Indeed, the Seller (a debtor) owns no interest in

the Property (or the Sliver Parcel), and as demonstrated by the Transaction Documents, sold the

entire Property to T&W in March 2022. Thus, there is no legal basis on which the Trustee is

entitled to withhold her signature from a corrective deed to properly convey the Sliver Parcel that

is rightfully owned by T&W.

                              BASIS FOR RELIEF REQUESTED

       21.     Pursuant to Section 105(a) of the Bankruptcy Code, the Court is authorized to issue

“any order, process, or judgment that is necessary or appropriate to carry out the provisions of [the

Bankruptcy Code].” 11 U.S.C. §105(a). The purpose of Section 105(a) is “to assure the bankruptcy

courts power to take whatever action is appropriate or necessary in aid of the exercise of their

jurisdiction.” 2 COLLIER ON BANKRUPTCY ¶ 105.01 (16th 2023).                      “[T]he overriding

consideration in bankruptcy . . . is that equitable principles govern”, see In re NWFX Inc., 864 F.2d

588, 590 (8th Cir. 1988), and bankruptcy courts have broad equitable powers to order relief

pursuant to Section 105(a) of the Bankruptcy Code. See, e.g., River Hills Assocs., Ltd. v. River

Hills Apartments Fund (In re River Hills Apartments Fund), 813 F.2d 702, 707 (5th Cir. 1987).

       22.     T&W submits that it is appropriate for the Court to use its powers under Section

105(a) to grant the Motion directing the Trustee to execute a corrective deed that would convey

the entirety of the Property to T&W as was set forth in the Transaction Documents, including the

Seller’s Title Affidavit and the Title Policy. Authorizing and directing the Trustee to execute a

corrective deed not only would satisfy the Seller’s obligations under the Transaction Documents

(including the Affidavit and Indemnity Agreement and the Seller’s Title Affidavit), but it would


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also alleviate the Debtors’ estates from liabilities a contravening position (i.e., WebsterP owns the

Sliver Parcel not conveyed) would entail, particularly in this Chapter 7 bankruptcy case.

       23.     If the relief described herein is not granted, the Debtors’ estates would be required

to pay taxes, maintain the Sliver Parcel, and face liability for environmental contamination and

any other liabilities (e.g., slip and falls, other accidents, etc.) that may occur on or at the Sliver

Parcel that was erroneously never conveyed from WebsterP to T&W. Additionally, estate

resources would continue to be expended needlessly on continuing litigation of this simple and

straightforward correction of an erroneous exclusion of the Sliver Parcel from the Property’s legal

description in the Deed.

                     REQUEST FOR EMERGENCY CONSIDERATION

       24.     T&W respectfully requests that the Court set an emergency hearing on the Motion

on or before January 24, 2024, and (ii) approve the Proposed Order.

       25.     Emergency consideration of the Motion is requested because T&W has an

impending sale transaction for the Property with the third-party Buyer. Despite numerous attempts

over the past several weeks to resolve the corrective deed issues out of court and having provided

the Trustee (through her special counsel, who is also counsel to the Prepetition Agent) with the

Transaction Documents demonstrating that T&W paid the Seller $500,000 for the Property, the

Trustee has refused to execute a simple corrective deed. Her refusal to do so is jeopardizing the

closing of the sale to the Buyer because the Buyer has told to T&W that it will immediately walk

away from the transaction if it does not close by January 24, 2024. T&W will suffer immediate

and irreparable harm if the sale transaction with the Buyer cannot be completed due to the Trustee’s

refusal to correct a defect in the deed and title that the Seller (a debtor) swore did not exist when

the transaction closed in 2022—well before these bankruptcy cases were filed.




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           26.      Absent an order directing the Trustee to execute a corrective deed, the transaction

with the Buyer cannot be consummated. T&W will suffer damages (based on the Trustee’s refusal

at the direction of the Prepetition Agent) and will have no choice but to institute proceedings

against the Title Company under the Title Policy, who will then separately bring an action in this

Court (or elsewhere) to enforce the Seller’s obligation to deliver title and have a corrective deed

issued, which will result in the Title Company bringing an action against the estate and causing

further unnecessary costs/expenses to the estate and the Title Company. The costs and expenses

of that litigation will be reimbursable by the Debtors’ estates under the Title Policy, meaning that

there will be substantial losses incurred by the estate with respect to a very obvious and easily

correctable defect in title that is holding up a transaction the rightful owner, T&W, has negotiated

with a third party.

           27.      In addition, given the Trustee’s position, the Seller (a debtor) will continue to incur

unnecessary costs with respect to the Property, including taxes, insurance, environmental cleanup,

costs and potential liability if an accident or incident were to occur on the portion of the Property

that was sold (but not properly conveyed) by the Seller to T&W.2 Those expenses and risks could

be substantial, and liabilities that should not be borne by a Chapter 7 estate based on refusal to

execute a corrective deed.

                                                  CONCLUSION

           For the foregoing reasons, T&W respectfully requests that this Court grant the relief

requested in the Motion in its entirety, enter the Proposed Order directing the Trustee to execute a

corrective deed, and grant such other and further relief as the Court may deem just and proper.




2
    Of note, T&W is owed millions of dollars by the Debtors, including certain amounts with respect to the Property.



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Dated: January 19, 2024        Respectfully Submitted,


                                     /s/ Michael Fishel

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                                   -and-

                                   Thaddeus D. Wilson (pro hac vice admission to be
                                   requested)
                                   Britney K. Baker (pro hac vice admission to be
                                   requested)
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                                           bbaker@kslaw.com

                                   Counsel for Time and Water, LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Motion was served on January
19, 2024 on all parties entitled to receive service through the Court’s ECF system.

                                               /s/ Michael Fishel

                                             KING & SPALDING LLP
                                             Michael Fishel (Texas Bar No. 24082998)
                                             110 Louisiana
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                                             Houston, TX 77002
                                             Telephone: (713) 276-7369
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                                             Counsel for Time and Water, LLC
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                             Exhibit A

                           Proposed Order
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                               Chapter 7
    In re:                                                     (Previously Chapter 11)

    Mountain Express Oil Company, et al.,                      Case No. 23-90147 (DRJ)

                           Debtors.                            Jointly Administered


                                     ORDER
               DIRECTING THE TRUSTEE TO EXECUTE A CORRECTIVE DEED


             Upon the motion (“Motion”)1 of Time and Water, LLC (“T&W”), for entry of an order

directing Janet S. Northrup, the Chapter 7 Trustee (the “Trustee”) of the jointly administered

bankruptcy estates of Mountain Express Oil Company, et al. (collectively “MEX” or “Debtors”),

to execute a corrective deed with respect to certain property located in Minden, Louisiana (the

“Property”); and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and

this matter being a core proceeding within the meaning of 28 U.S.C. § 157(b)(2); and the Court

being able to issue a final order consistent with Article III of the United States Constitution; and

venue being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and appropriate notice of and

opportunity for a hearing on the Motion having been given; and the relief requested in the Motion

being in the best interests of the Debtors’ estates, their creditors and other parties in interest; and

the Court having determined that the legal and factual bases set forth in the Motion establish just

cause for the relief granted herein; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:




1
 Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to them in the
Motion.
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       1.      The Motion is hereby granted.

       2.      The Trustee is authorized and directed to execute a corrective deed within 1

business day of entry of this Order and take all such actions as are necessary or appropriate to

implement the terms of this Order.

       3.      The Trustee is directed to pay the legal costs and expenses of T&W for having to

bring the Motion.

       4.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this order.

 Houston, Texas
 Dated: ____________, 2024


                                                     UNITED STATES BANKRUPTCY JUDGE




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                             Exhibit B

                         Lansing Declaration
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                  Chapter 7
    In re:                                                        (Previously Chapter 11)

    Mountain Express Oil Company, et al.,                         Case No. 23-90147 (DRJ)

                               Debtors.                           Jointly Administered


                                    DECLARATION OF NEIL LANSING


             I, Neil Lansing, declare as follows based on my personal knowledge:

             1.      I am above the age of twenty-one years, a resident of Alpharetta, Georgia, and fully

competent to make this declaration (“Declaration”).

             2.      I am the former General Counsel of the Debtors, and my law practice involves

commercial real property transactions.

             3.      I was involved with the documentation of the sale (the “Sale”) of the property

located at 2193 Highway 532 Minden, Louisiana 71055 (the “Property”) from Debtor WebsterP

L.L.C., a Louisiana limited liability company (“WebsterP”) to Time and Water, LLC (“T&W”).

             4.      I coordinated with Fidelity National Title Insurance Company (the “Title

Company”), who acted as the escrow and closing agent, as well as issuer of the Title Policy, in

connection with the sale of the Property and am familiar with the terms and conditions of the Sale.

             5.      This Declaration is made in connection with T&W’s Emergency Motion For Entry

Of An Order Directing The Trustee To Execute A Corrective Deed (the “Motion”)1 filed

contemporaneously with this Declaration.



1
    All capitalized terms used but not defined herein shall have the meanings given them in the Motion.
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       6.      The Sale closed on or around March 31, 2022.

       7.      The following Transaction Documents are true and correct copies of such

documents referenced in the Motion.

              Annex 1.         Deed
              Annex 2.         Survey
              Annex 3.         Title Policy
              Annex 4.         Seller’s Title Affidavit
              Annex 5.         Affidavit and Indemnity Agreement
              Annex 6.         Form 1099-S
              Annex 7.         Resolutions
              Annex 8.         Closing Statement
              Annex 9.         Wire Confirmation #1
             Annex 10.         Wire Confirmation #2

       8.      T&W paid WebsterP $500,000.00 in exchange for the Property at the closing as

demonstrated by the Closing Statement and Wire Confirmations.

       9.      In connection with T&W’s contemplated sale of the Property to a third party (the

“Buyer”), it was brought to my attention that, notwithstanding that WebsterP had sold the entirety

of the Property to T&W, the Deed recorded by the Title Company did not convey the entirety of

the Property to T&W.

       10.     A small sliver of the Property—although acquired by T&W from WebsterP—was

not included in the legal description for the Property in the Deed, which sliver is part of the

property located at 2193 Highway 532 Minden, Louisiana 71055. This was an error in the closing

documentation that, in my experience, is easily correctable with what is known as a corrective

deed that would set out the full legal description for the Property, including the sliver parcel.




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                              Annex 1
                               Deed
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                              Annex 2
                              Survey
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6Diie VICINITY MAP                6Diic NORTH ARROW & SCALE   6   ZONING INFORMATION                                                                 6Bxii TITLE COMMITMENT INFORMATION
                                                                                                                                                                                                                                                  SHEET 1
                                                                                                                                                                                                                                                   OF 2
                                                                                                                                                     6Bi TITLE DESCRIPTION




5Ciii SIGNIFICANT OBSERVATIONS
A



    3    FLOOD INFORMATION




6Diid LEGEND AND ABBREVIATIONS




                                                                                                   SEE SHEET 2 FOR SURVEY DRAWING

5Ei SCHEDULE B - SECTION 2 ITEMS
    12                                                                                                                                               6Cvii PLATTED SETBACK OR RECORDED BUILDING RESTRICTION LINES

    13                                                                                                                                               6Diig SURVEYOR'S NOTES




                                                                                                                                                                                                                                                                     MINDEN, LOUISIANA 71055
                                                                                                                                                                                                                    ALTA/NSPS LAND TITLE SURVEY
    14



                                                                                                                                                      4 LAND AREA




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    23                                         ’




             ALTA/NSPS LAND TITLE SURVEY IDENTIFICATION TABLE
  2                       6Bvii                          8
  3                       6Bxii                          9
  4                       6Cvii                         10
5Biii                     6Diic                         11
5Ciii                     6Diid                        13
 5Ei                      6Diie                        14
 5F                       6Diig                         16
  6                       6Diik                         17
6Bi                        7                            18
                          7b
6Biv                      7c

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  6Diic NORTH ARROW & SCALE
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                              Annex 3
                            Title Policy
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$Q\ QRWLFH RI FODLP DQG DQ\ RWKHU QRWLFH RU VWDWHPHQW LQ ZULWLQJ UHTXLUHG WR EH JLYHQ WR WKH &RPSDQ\ XQGHU WKLV
3ROLF\ PXVW EH JLYHQ WR WKH &RPSDQ\ DW WKH DGGUHVV VKRZQ LQ 6HFWLRQ  RI WKH &RQGLWLRQV
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DJDLQVW ORVV RU GDPDJH QRW H[FHHGLQJ WKH $PRXQW RI ,QVXUDQFH VXVWDLQHG RU LQFXUUHG E\ WKH ,QVXUHG E\ UHDVRQ RI
 7LWOH EHLQJ YHVWHG RWKHU WKDQ DV VWDWHG LQ 6FKHGXOH $
 $Q\ GHIHFW LQ RU OLHQ RU HQFXPEUDQFH RQ WKH 7LWOH 7KLV &RYHUHG 5LVN LQFOXGHV EXW LV QRW OLPLWHG WR LQVXUDQFH DJDLQVW
   ORVV IURP
    D $ GHIHFW LQ WKH 7LWOH FDXVHG E\
         L IRUJHU\ IUDXG XQGXH LQIOXHQFH GXUHVV LQFRPSHWHQF\ LQFDSDFLW\ RU LPSHUVRQDWLRQ
         LL IDLOXUH RI DQ\ SHUVRQ RU (QWLW\ WR KDYH DXWKRUL]HG D WUDQVIHU RU FRQYH\DQFH
         LLL D GRFXPHQW DIIHFWLQJ 7LWOH QRW SURSHUO\ FUHDWHG H[HFXWHG ZLWQHVVHG VHDOHG DFNQRZOHGJHG QRWDUL]HG RU
             GHOLYHUHG
         LY IDLOXUH WR SHUIRUP WKRVH DFWV QHFHVVDU\ WR FUHDWH D GRFXPHQW E\ HOHFWURQLF PHDQV DXWKRUL]HG E\ ODZ
         Y D GRFXPHQW H[HFXWHG XQGHU D IDOVLILHG H[SLUHG RU RWKHUZLVH LQYDOLG SRZHU RI DWWRUQH\
         YL D GRFXPHQW QRW SURSHUO\ ILOHG UHFRUGHG RU LQGH[HG LQ WKH 3XEOLF 5HFRUGV LQFOXGLQJ IDLOXUH WR SHUIRUP WKRVH
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         YLL D GHIHFWLYH MXGLFLDO RU DGPLQLVWUDWLYH SURFHHGLQJ
    E 7KH OLHQ RI UHDO HVWDWH WD[HV RU DVVHVVPHQWV LPSRVHG RQ WKH 7LWOH E\ D JRYHUQPHQWDO DXWKRULW\ GXH RU SD\DEOH EXW
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    F $Q\ HQFURDFKPHQW HQFXPEUDQFH YLRODWLRQ YDULDWLRQ RU DGYHUVH FLUFXPVWDQFH DIIHFWLQJ WKH 7LWOH WKDW ZRXOG EH
        GLVFORVHG E\ DQ DFFXUDWH DQG FRPSOHWH ODQG VXUYH\ RI WKH /DQG 7KH WHUP HQFURDFKPHQW LQFOXGHV
        HQFURDFKPHQWV RI H[LVWLQJ LPSURYHPHQWV ORFDWHG RQ WKH /DQG RQWR DGMRLQLQJ ODQG DQG HQFURDFKPHQWV RQWR WKH
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 8QPDUNHWDEOH 7LWOH
 1R ULJKW RI DFFHVV WR DQG IURP WKH /DQG
 7KH YLRODWLRQ RU HQIRUFHPHQW RI DQ\ ODZ RUGLQDQFH SHUPLW RU JRYHUQPHQWDO UHJXODWLRQ LQFOXGLQJ WKRVH UHODWLQJ WR
   EXLOGLQJ DQG ]RQLQJ UHVWULFWLQJ UHJXODWLQJ SURKLELWLQJ RU UHODWLQJ WR
    D WKH RFFXSDQF\ XVH RU HQMR\PHQW RI WKH /DQG
    E WKH FKDUDFWHU GLPHQVLRQV RU ORFDWLRQ RI DQ\ LPSURYHPHQW HUHFWHG RQ WKH /DQG
    F WKH VXEGLYLVLRQ RI ODQG RU
    G HQYLURQPHQWDO SURWHFWLRQ
   LI D QRWLFH GHVFULELQJ DQ\ SDUW RI WKH /DQG LV UHFRUGHG LQ WKH 3XEOLF 5HFRUGV VHWWLQJ IRUWK WKH YLRODWLRQ RU LQWHQWLRQ WR
   HQIRUFH EXW RQO\ WR WKH H[WHQW RI WKH YLRODWLRQ RU HQIRUFHPHQW UHIHUUHG WR LQ WKDW QRWLFH
 $Q HQIRUFHPHQW DFWLRQ EDVHG RQ WKH H[HUFLVH RI D JRYHUQPHQWDO SROLFH SRZHU QRW FRYHUHG E\ &RYHUHG 5LVN  LI D
   QRWLFH RI WKH HQIRUFHPHQW DFWLRQ GHVFULELQJ DQ\ SDUW RI WKH /DQG LV UHFRUGHG LQ WKH 3XEOLF 5HFRUGV EXW RQO\ WR WKH
   H[WHQW RI WKH HQIRUFHPHQW UHIHUUHG WR LQ WKDW QRWLFH


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RI WKH GDWH RI XVH $OO RWKHU XVHV DUH SURKLELWHG 5HSULQWHG XQGHU OLFHQVH IURP WKH $PHULFDQ /DQG 7LWOH $VVRFLDWLRQ
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    WKH 3XEOLF 5HFRUGV
 $Q\ WDNLQJ E\ D JRYHUQPHQWDO ERG\ WKDW KDV RFFXUUHG DQG LV ELQGLQJ RQ WKH ULJKWV RI D SXUFKDVHU IRU YDOXH ZLWKRXW
    .QRZOHGJH
 7LWOH EHLQJ YHVWHG RWKHU WKDQ DV VWDWHG LQ 6FKHGXOH $ RU EHLQJ GHIHFWLYH
     D DV D UHVXOW RI WKH DYRLGDQFH LQ ZKROH RU LQ SDUW RU IURP D FRXUW RUGHU SURYLGLQJ DQ DOWHUQDWLYH UHPHG\ RI D WUDQVIHU
        RI DOO RU DQ\ SDUW RI WKH WLWOH WR RU DQ\ LQWHUHVW LQ WKH /DQG RFFXUULQJ SULRU WR WKH WUDQVDFWLRQ YHVWLQJ 7LWOH DV VKRZQ LQ
        6FKHGXOH $ EHFDXVH WKDW SULRU WUDQVIHU FRQVWLWXWHG D IUDXGXOHQW RU SUHIHUHQWLDO WUDQVIHU XQGHU IHGHUDO EDQNUXSWF\
        VWDWH LQVROYHQF\ RU VLPLODU FUHGLWRUV ULJKWV ODZV RU
     E EHFDXVH WKH LQVWUXPHQW RI WUDQVIHU YHVWLQJ 7LWOH DV VKRZQ LQ 6FKHGXOH $ FRQVWLWXWHV D SUHIHUHQWLDO WUDQVIHU XQGHU
        IHGHUDO EDQNUXSWF\ VWDWH LQVROYHQF\ RU VLPLODU FUHGLWRUV ULJKWV ODZV E\ UHDVRQ RI WKH IDLOXUH RI LWV UHFRUGLQJ LQ WKH
        3XEOLF 5HFRUGV
         L WR EH WLPHO\ RU
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    UHFRUGLQJ RI WKH GHHG RU RWKHU LQVWUXPHQW RI WUDQVIHU LQ WKH 3XEOLF 5HFRUGV WKDW YHVWV 7LWOH DV VKRZQ LQ 6FKHGXOH $
7KH &RPSDQ\ ZLOO DOVR SD\ WKH FRVWV DWWRUQH\V IHHV DQG H[SHQVHV LQFXUUHG LQ GHIHQVH RI DQ\ PDWWHU LQVXUHG DJDLQVW E\
WKLV 3ROLF\ EXW RQO\ WR WKH H[WHQW SURYLGHG LQ WKH &RQGLWLRQV
,1 :,71(66 :+(5(2) ),'(/,7< 1$7,21$/ 7,7/( ,1685$1&( &203$1< KDV FDXVHG WKLV SROLF\ WR EH VLJQHG DQG
VHDOHG E\ LWV GXO\ DXWKRUL]HG RIILFHUV

                                                                                       )LGHOLW\ 1DWLRQDO 7LWOH ,QVXUDQFH &RPSDQ\
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&RXQWHUVLJQHG %\                                                                      $WWHVW




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RI WKH GDWH RI XVH $OO RWKHU XVHV DUH SURKLELWHG 5HSULQWHG XQGHU OLFHQVH IURP WKH $PHULFDQ /DQG 7LWOH $VVRFLDWLRQ
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7KH IROORZLQJ PDWWHUV DUH H[SUHVVO\ H[FOXGHG IURP WKH FRYHUDJH RI WKLV SROLF\ DQG WKH &RPSDQ\ ZLOO QRW SD\ ORVV RU
GDPDJH FRVWV DWWRUQH\V IHHV RU H[SHQVHV WKDW DULVH E\ UHDVRQ RI
    D $Q\ ODZ RUGLQDQFH SHUPLW RU JRYHUQPHQWDO UHJXODWLRQ LQFOXGLQJ WKRVH UHODWLQJ WR EXLOGLQJ DQG ]RQLQJ UHVWULFWLQJ
         UHJXODWLQJ SURKLELWLQJ RU UHODWLQJ WR
          L WKH RFFXSDQF\ XVH RU HQMR\PHQW RI WKH /DQG
          LL WKH FKDUDFWHU GLPHQVLRQV RU ORFDWLRQ RI DQ\ LPSURYHPHQW HUHFWHG RQ WKH /DQG
          LLL WKH VXEGLYLVLRQ RI ODQG RU
          LY HQYLURQPHQWDO SURWHFWLRQ
         RU WKH HIIHFW RI DQ\ YLRODWLRQ RI WKHVH ODZV RUGLQDQFHV RU JRYHUQPHQWDO UHJXODWLRQV 7KLV ([FOXVLRQ  D GRHV QRW
         PRGLI\ RU OLPLW WKH FRYHUDJH SURYLGHG XQGHU &RYHUHG 5LVN 
      E $Q\ JRYHUQPHQWDO SROLFH SRZHU 7KLV ([FOXVLRQ  E GRHV QRW PRGLI\ RU OLPLW WKH FRYHUDJH SURYLGHG XQGHU
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   5LJKWV RI HPLQHQW GRPDLQ 7KLV ([FOXVLRQ GRHV QRW PRGLI\ RU OLPLW WKH FRYHUDJH SURYLGHG XQGHU &RYHUHG 5LVN  RU 
   'HIHFWV OLHQV HQFXPEUDQFHV DGYHUVH FODLPV RU RWKHU PDWWHUV
      D FUHDWHG VXIIHUHG DVVXPHG RU DJUHHG WR E\ WKH ,QVXUHG &ODLPDQW
      E QRW .QRZQ WR WKH &RPSDQ\ QRW UHFRUGHG LQ WKH 3XEOLF 5HFRUGV DW 'DWH RI 3ROLF\ EXW .QRZQ WR WKH ,QVXUHG
         &ODLPDQW DQG QRW GLVFORVHG LQ ZULWLQJ WR WKH &RPSDQ\ E\ WKH ,QVXUHG &ODLPDQW SULRU WR WKH GDWH WKH ,QVXUHG
         &ODLPDQW EHFDPH DQ ,QVXUHG XQGHU WKLV SROLF\
      F UHVXOWLQJ LQ QR ORVV RU GDPDJH WR WKH ,QVXUHG &ODLPDQW
      G DWWDFKLQJ RU FUHDWHG VXEVHTXHQW WR 'DWH RI 3ROLF\ KRZHYHU WKLV GRHV QRW PRGLI\ RU OLPLW WKH FRYHUDJH SURYLGHG
         XQGHU &RYHUHG 5LVN  DQG   RU
      H UHVXOWLQJ LQ ORVV RU GDPDJH WKDW ZRXOG QRW KDYH EHHQ VXVWDLQHG LI WKH ,QVXUHG &ODLPDQW KDG SDLG YDOXH IRU WKH 7LWOH
   $Q\ FODLP E\ UHDVRQ RI WKH RSHUDWLRQ RI IHGHUDO EDQNUXSWF\ VWDWH LQVROYHQF\ RU VLPLODU FUHGLWRUV¶ ULJKWV ODZV WKDW WKH
     WUDQVDFWLRQ YHVWLQJ WKH 7LWOH DV VKRZQ LQ 6FKHGXOH $ LV
      D D IUDXGXOHQW FRQYH\DQFH RU IUDXGXOHQW WUDQVIHU RU
      E D SUHIHUHQWLDO WUDQVIHU IRU DQ\ UHDVRQ QRW VWDWHG LQ &RYHUHG 5LVN  RI WKLV SROLF\
   $Q\ OLHQ RQ WKH 7LWOH IRU UHDO HVWDWH WD[HV RU DVVHVVPHQWV LPSRVHG E\ JRYHUQPHQWDO DXWKRULW\ DQG FUHDWHG RU DWWDFKLQJ
     EHWZHHQ 'DWH RI 3ROLF\ DQG WKH GDWH RI UHFRUGLQJ RI WKH GHHG RU RWKHU LQVWUXPHQW RI WUDQVIHU LQ WKH 3XEOLF 5HFRUGV WKDW
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1DPH DQG $GGUHVV RI 7LWOH ,QVXUDQFH &RPSDQ\ )LUVW 7LWOH RI /RXLVLDQD //&
                                              8QLWHG 3OD]D %OYG 6XLWH 
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$GGUHVV 5HIHUHQFH  +LJKZD\  0LQGHQ /$ 
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          )HH 6LPSOH

 7LWOH LV YHVWHG LQ

          7LPH DQG :DWHU //& D *HRUJLD OLPLWHG OLDELOLW\ FRPSDQ\ E\ YLUWXH RI $FW RI 6DOH IURP :HEVWHU3 //& D
          /RXLVLDQD OLPLWHG OLDELOLW\ FRPSDQ\ VXFFHVVRU E\ 'XEEHUO\ , //& D /RXLVLDQD /LPLWHG /LDELOLW\ &RPSDQ\
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RI WKH GDWH RI XVH $OO RWKHU XVHV DUH SURKLELWHG 5HSULQWHG XQGHU OLFHQVH IURP WKH $PHULFDQ /DQG 7LWOH $VVRFLDWLRQ
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:HEVWHU 3DULVK /RXLVLDQD IRU WKH VWDUWLQJ SRLQW IRU WKH 1RUWK OLQH RI WKH SODW RI ODQG IURP WKH 1RUWKHDVW &RUQHU RI
6RXWKZHVW 4XDUWHU RI 6RXWKZHVW 4XDUWHU RI 6HFWLRQ  7RZQVKLS  1RUWK 5DQJH  :HVW UXQ 6RXWK  \DUGV WR 6RXWK
GLWFK RI *HUUHQ 5RDG WKHQFH UXQ  GHJUHHV 6RXWK RI :HVW  \DUGV WKHQFH DORQJ FHQWHU RI VDLG URDG LQ D 1RUWKZHVW
GLUHFWLRQ WR WKH 1RUWKZHVW &RUQHU RI WKH 6RXWKZHVW 4XDUWHU RI WKH 6RXWKZHVW 4XDUWHU RI 6HFWLRQ  7RZQVKLS  1RUWK
5DQJH  :HVW LQFOXGLQJ DOO RI WKH ODQG VRXWK RI VDLG *HUUHQ 5RDG DQG EHLQJ WKH 1RUWK OLQH RI VDLG SURSHUW\ GHVFULEHG
H[FHSW WKDW SDUW 1RUWK RI VDLG OLQH *HUUHQ 5RDG

/(66 $1' (;&(37 WKH HDVW  IHHW RI WKH ODQG KHUHLQ GHVFULEHG DV SHU WKDW GHHG UHFRUGHG LQ %RRN  3DJH 
XQGHU 5HJLVWU\ 1XPEHU  DQG LQ %RRN  3DJH  XQGHU 5HJLVWU\ 1XPEHU  RI WKH &RQYH\DQFH 5HFRUGV RI
:HEVWHU 3DULVK /RXLVLDQD WKH VDLG *HUUHQ 5RDG QRZ NQRZQ DV :HEVWHU 3DULVK 5RDG  &DPS 6PRNH +RXVH 5RDG 
DQG

/(66 $1' (;&(37 WKDW WUDFW FRQYH\HG WR WKH 6WDWH RI /RXLVLDQD WKURXJK WKH 'HSDUWPHQW RI +LJKZD\V E\ 2UGHU RI
([SURSULDWLRQ GDWHG 0D\   UHFRUGHG LQ &RQYH\DQFH %RRN  3DJH  5HJLVWU\ 1XPEHU 

/HVV DQG ([FHSW 2QH FHUWDLQ SDUFHO RI ODQG LGHQWLILHG DV 3DUFHO 1R  RQ D SODW RI VXUYH\ E\ &KDUOHV * &R\OH ,,, 5/6
GDWHG 1RYHPEHU   ZKLFK SDUFHO ZDV WUDQVIHUUHG WR WKH 6WDWH RI /RXLVLDQD 'HSDUWPHQW RI 7UDQVSRUWDWLRQ DQG
'HYHORSPHQW E\ 2UGHU RI ([SURSULDWLRQ UHFRUGHG 0D\   DW )LOH 1R 




&RS\ULJKW $PHULFDQ /DQG 7LWOH $VVRFLDWLRQ $OO ULJKWV UHVHUYHG

7KH XVH RI WKLV )RUP RU DQ\ GHULYDWLYH WKHUHRI LV UHVWULFWHG WR $/7$ OLFHQVHHV DQG $/7$ PHPEHUV LQ JRRG VWDQGLQJ DV
RI WKH GDWH RI XVH $OO RWKHU XVHV DUH SURKLELWHG 5HSULQWHG XQGHU OLFHQVH IURP WKH $PHULFDQ /DQG 7LWOH $VVRFLDWLRQ
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7KLV SROLF\ GRHV QRW LQVXUH DJDLQVW ORVV RU GDPDJH DQG WKH &RPSDQ\ ZLOO QRW SD\ FRVWV DWWRUQH\V¶ IHHV RU H[SHQVHV WKDW
DULVH E\ UHDVRQ RI
        ,QWHQWLRQDOO\ GHOHWHG

        $OO WD[HV IRU WKH ILVFDO \HDU  DQG VXEVHTXHQW \HDUV QRW \HW GXH DQG SD\DEOH

        ,QWHQWLRQDOO\ GHOHWHG

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        1R LQVXUDQFH LV DIIRUGHG DV WR WKH H[DFW DPRXQW RI DFUHDJH FRQWDLQHG LQ WKH SURSHUW\ GHVFULEHG KHUHLQ

        ,QWHQWLRQDOO\ GHOHWHG

       ,QWHQWLRQDOO\ GHOHWHG

       $Q\ ULJKW LQWHUHVW RU FODLP WKDW PD\ H[LVW DULVH RU EH DVVHUWHG XQGHU RU SXUVXDQW WR WKH 3HULVKDEOH $JULFXOWXUDO
          &RPPRGLWLHV $FW RI  DV DPHQGHG  86& D HW VHT WKH 3DFNHUV DQG 6WRFN\DUG $FW RI  DV
          DPHQGHG  86&  HW VHT RU DQ\ VLPLODU VWDWH ODZV

       5LJKWRIZD\ LQ IDYRU RI /RXLVLDQD 3RZHU          /LJKW &RPSDQ\ UHFRUGHG LQ &RQYH\DQFH %RRN  3DJH  5HFRUGV
          RI :HEVWHU 3DULVK /RXLVLDQD

       *UDQW RI ULJKWRIZD\ IRU SXEOLF KLJKZD\V SHUPLWWLQJ WKH 'HSDUWPHQW RI +LJKZD\V WR HQWHU XSRQ SURSHUWLHV EH\RQG
          LWV ULJKWRIZD\ LQ RUGHU WR H[FDYDWH FRQVWUXFW DQG PDLQWDLQ WKHUHRQ ODWHUDO GUDLQV RU FKDQQHO FKDQJHV DV PD\ EH
          UHTXLUHG IRU WKH SURSHU DQG DGHTXDWH GUDLQDJH RI WKH KLJKZD\ VHW IRUWK LQ GHHG UHFRUGHG XQGHU 5HJLVWU\ 1XPEHU
           LQ &RQYH\DQFH %RRN  3DJH  5HFRUGV RI :HEVWHU 3DULVK /RXLVLDQD

       7KLV LWHP LQWHQWLRQDOO\ GHOHWHG

       7KLV LWHP LQWHQWLRQDOO\ GHOHWHG

       7KLV LWHP LQWHQWLRQDOO\ GHOHWHG

       5LJKWRIZD\ SHUPLW LQ IDYRU RI /RXLVLDQD 3RZHU /LJKW &RPSDQ\ UHFRUGHG XQGHU 5HJLVWU\ 1XPEHU  LQ
          &RQYH\DQFH %RRN  3DJH  5HFRUGV RI :HEVWHU 3DULVK /RXLVLDQD

       5LJKWRIZD\ SHUPLW LQ IDYRU RI /RXLVLDQD 3RZHU /LJKW &RPSDQ\ UHFRUGHG XQGHU 5HJLVWU\ 1XPEHU  LQ
          &RQYH\DQFH %RRN  3DJH  5HFRUGV RI :HEVWHU 3DULVK /RXLVLDQD

       5LJKWRIZD\ SHUPLW LQ IDYRU RI /RXLVLDQD 3RZHU /LJKW &RPSDQ\ UHFRUGHG XQGHU 5HJLVWU\ 1XPEHU  LQ
          &RQYH\DQFH %RRN  3DJH  5HFRUGV RI :HEVWHU 3DULVK /RXLVLDQD


&RS\ULJKW $PHULFDQ /DQG 7LWOH $VVRFLDWLRQ $OO ULJKWV UHVHUYHG

7KH XVH RI WKLV )RUP RU DQ\ GHULYDWLYH WKHUHRI LV UHVWULFWHG WR $/7$ OLFHQVHHV DQG $/7$ PHPEHUV LQ JRRG VWDQGLQJ DV
RI WKH GDWH RI XVH $OO RWKHU XVHV DUH SURKLELWHG 5HSULQWHG XQGHU OLFHQVH IURP WKH $PHULFDQ /DQG 7LWOH $VVRFLDWLRQ
$/7$ 2ZQHU V 3ROLF\   /$                                                                          3ULQWHG  #  30
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       5LJKWRIZD\ SHUPLW LQ IDYRU RI /RXLVLDQD 3RZHU /LJKW &RPSDQ\ UHFRUGHG XQGHU 5HJLVWU\ 1XPEHU  LQ
          &RQYH\DQFH %RRN  3DJH  5HFRUGV RI :HEVWHU 3DULVK /RXLVLDQD

       2LO *DV 0LQHUDO /HDVH UHFRUGHG XQGHU 5HJLVWU\ 1XPEHU  LQ &RQYH\DQFH %RRN  3DJH  5HFRUGV RI
          :HEVWHU 3DULVK /RXLVLDQD

       0LQHUDO 'HHG H[HFXWHG E\ 'XEEHUO\ , //& LQ IDYRU RI )LUHVLGH 2LO DQG *DV ,QF UHFRUGHG 1RYHPEHU  
          XQGHU )LOH 1R  LQ &RQYH\DQFH %RRN  3DJH  UHFRUGV RI :HEVWHU 3DULVK /RXLVLDQD

       /RFDWLRQ DQG 2SHUDWLRQ $JUHHPHQW EHWZHHQ 0LOHWHOOR¶V 3LWVWRS //& DQG /60 *DPLQJ ,QF UHFRUGHG 2FWREHU 
           XQGHU )LOH 1R  LQ 0RUWJDJH %RRN  3DJH  UHFRUGV RI :HEVWHU 3DULVK /RXLVLDQD

       $/7$1636 /DQG 7LWOH 6XUYH\ SUHSDUHG E\ $PHULFDQ 6XUYH\LQJ 0DSSLQJ ,QF 0LFKDHO 2 &RRN 3/6 1R 
          GDWHG 0DUFK   ODVW UHYLVHG 0DUFK   -RE 1R  GLVFORVHV WKH IROORZLQJ


          D 2YHUKHDG SRZHU OLQHV LQ QRUWKZHVW FRUQHU RI
          E 2YHUKHDG SRZHU OLQHV LQ VRXWKZHVW FRUQHU RI
          F (OHFWULF FDELQHW RQ HDVW VLGH RI H[LVWLQJ EXLOGLQJ
          G *DV YDOYHV DQG XQGHUJURXQG WDQN PDQKROHV QHDU ZHVW VLGH JDV SXPSV
          H 6HZHU DFFHVV VLWH QHDU VRXWK SURSHUW\ OLQH


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&RS\ULJKW $PHULFDQ /DQG 7LWOH $VVRFLDWLRQ $OO ULJKWV UHVHUYHG

7KH XVH RI WKLV )RUP RU DQ\ GHULYDWLYH WKHUHRI LV UHVWULFWHG WR $/7$ OLFHQVHHV DQG $/7$ PHPEHUV LQ JRRG VWDQGLQJ DV
RI WKH GDWH RI XVH $OO RWKHU XVHV DUH SURKLELWHG 5HSULQWHG XQGHU OLFHQVH IURP WKH $PHULFDQ /DQG 7LWOH $VVRFLDWLRQ
$/7$ 2ZQHU V 3ROLF\   /$                                                                          3ULQWHG  #  30
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     7KH IROORZLQJ WHUPV ZKHQ XVHG LQ WKLV SROLF\ PHDQ
     D    $PRXQW RI ,QVXUDQFH 7KH DPRXQW VWDWHG LQ 6FKHGXOH $ DV PD\ EH LQFUHDVHG RU GHFUHDVHG E\ HQGRUVHPHQW WR WKLV SROLF\ LQFUHDVHG E\
          6HFWLRQ  E  RU GHFUHDVHG E\ 6HFWLRQV  DQG  RI WKHVH &RQGLWLRQV
     E    'DWH RI 3ROLF\ 7KH GDWH GHVLJQDWHG DV 'DWH RI 3ROLF\ LQ 6FKHGXOH $
     F    (QWLW\ $ FRUSRUDWLRQ SDUWQHUVKLS WUXVW OLPLWHG OLDELOLW\ FRPSDQ\ RU RWKHU VLPLODU OHJDO HQWLW\
     G    ,QVXUHG 7KH ,QVXUHG QDPHG LQ 6FKHGXOH $
           L    7KH WHUP ,QVXUHG DOVR LQFOXGHV
                $    VXFFHVVRUV WR WKH 7LWOH RI WKH ,QVXUHG E\ RSHUDWLRQ RI ODZ DV GLVWLQJXLVKHG IURP SXUFKDVH LQFOXGLQJ KHLUV GHYLVHHV VXUYLYRUV
                     SHUVRQDO UHSUHVHQWDWLYHV RU QH[W RI NLQ
                %    VXFFHVVRUV WR DQ ,QVXUHG E\ GLVVROXWLRQ PHUJHU FRQVROLGDWLRQ GLVWULEXWLRQ RU UHRUJDQL]DWLRQ
                &    VXFFHVVRUV WR DQ ,QVXUHG E\ LWV FRQYHUVLRQ WR DQRWKHU NLQG RI (QWLW\
                '    D JUDQWHH RI DQ ,QVXUHG XQGHU D GHHG GHOLYHUHG ZLWKRXW SD\PHQW RI DFWXDO YDOXDEOH FRQVLGHUDWLRQ FRQYH\LQJ WKH 7LWOH
                         LI WKH VWRFN VKDUHV PHPEHUVKLSV RU RWKHU HTXLW\ LQWHUHVWV RI WKH JUDQWHH DUH ZKROO\RZQHG E\ WKH QDPHG ,QVXUHG
                         LI WKH JUDQWHH ZKROO\ RZQV WKH QDPHG ,QVXUHG
                         LI WKH JUDQWHH LV ZKROO\RZQHG E\ DQ DIILOLDWHG (QWLW\ RI WKH QDPHG ,QVXUHG SURYLGHG WKH DIILOLDWHG (QWLW\ DQG WKH QDPHG ,QVXUHG
                          DUH ERWK ZKROO\RZQHG E\ WKH VDPH SHUVRQ RU (QWLW\ RU
                         LI WKH JUDQWHH LV D WUXVWHH RU EHQHILFLDU\ RI D WUXVW FUHDWHG E\ D ZULWWHQ LQVWUXPHQW HVWDEOLVKHG E\ WKH ,QVXUHG QDPHG LQ
                          6FKHGXOH $ IRU HVWDWH SODQQLQJ SXUSRVHV
           LL   :LWK UHJDUG WR $  %  &  DQG ' UHVHUYLQJ KRZHYHU DOO ULJKWV DQG GHIHQVHV DV WR DQ\ VXFFHVVRU WKDW WKH &RPSDQ\ ZRXOG KDYH KDG
                DJDLQVW DQ\ SUHGHFHVVRU ,QVXUHG
     H    ,QVXUHG &ODLPDQW $Q ,QVXUHG FODLPLQJ ORVV RU GDPDJH
     I    .QRZOHGJH RU .QRZQ $FWXDO NQRZOHGJH QRW FRQVWUXFWLYH NQRZOHGJH RU QRWLFH WKDW PD\ EH LPSXWHG WR DQ ,QVXUHG E\ UHDVRQ RI WKH 3XEOLF
          5HFRUGV RU DQ\ RWKHU UHFRUGV WKDW LPSDUW FRQVWUXFWLYH QRWLFH RI PDWWHUV DIIHFWLQJ WKH 7LWOH
     J    /DQG 7KH ODQG GHVFULEHG LQ 6FKHGXOH $ DQG DIIL[HG LPSURYHPHQWV WKDW E\ ODZ FRQVWLWXWH UHDO SURSHUW\ 7KH WHUP /DQG GRHV QRW LQFOXGH
          DQ\ SURSHUW\ EH\RQG WKH OLQHV RI WKH DUHD GHVFULEHG LQ 6FKHGXOH $ QRU DQ\ ULJKW WLWOH LQWHUHVW HVWDWH RU HDVHPHQW LQ DEXWWLQJ VWUHHWV URDGV
          DYHQXHV DOOH\V ODQHV ZD\V RU ZDWHUZD\V EXW WKLV GRHV QRW PRGLI\ RU OLPLW WKH H[WHQW WKDW D ULJKW RI DFFHVV WR DQG IURP WKH /DQG LV LQVXUHG
          E\ WKLV SROLF\
     K    0RUWJDJH 0RUWJDJH GHHG RI WUXVW WUXVW GHHG RU RWKHU VHFXULW\ LQVWUXPHQW LQFOXGLQJ RQH HYLGHQFHG E\ HOHFWURQLF PHDQV DXWKRUL]HG E\ ODZ
     L    3XEOLF 5HFRUGV 5HFRUGV HVWDEOLVKHG XQGHU VWDWH VWDWXWHV DW 'DWH RI 3ROLF\ IRU WKH SXUSRVH RI LPSDUWLQJ FRQVWUXFWLYH QRWLFH RI PDWWHUV
          UHODWLQJ WR UHDO SURSHUW\ WR SXUFKDVHUV IRU YDOXH DQG ZLWKRXW .QRZOHGJH :LWK UHVSHFW WR &RYHUHG 5LVN  G  3XEOLF 5HFRUGV VKDOO DOVR
          LQFOXGH HQYLURQPHQWDO SURWHFWLRQ OLHQV ILOHG LQ WKH UHFRUGV RI WKH FOHUN RI WKH 8QLWHG 6WDWHV 'LVWULFW &RXUW IRU WKH GLVWULFW ZKHUH WKH /DQG LV
          ORFDWHG
     M    7LWOH 7KH HVWDWH RU LQWHUHVW GHVFULEHG LQ 6FKHGXOH $
     N    8QPDUNHWDEOH 7LWOH 7LWOH DIIHFWHG E\ DQ DOOHJHG RU DSSDUHQW PDWWHU WKDW ZRXOG SHUPLW D SURVSHFWLYH SXUFKDVHU RU OHVVHH RI WKH 7LWOH RU
          OHQGHU RQ WKH 7LWOH WR EH UHOHDVHG IURP WKH REOLJDWLRQ WR SXUFKDVH OHDVH RU OHQG LI WKHUH LV D FRQWUDFWXDO FRQGLWLRQ UHTXLULQJ WKH GHOLYHU\ RI
          PDUNHWDEOH WLWOH
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     7KH FRYHUDJH RI WKLV SROLF\ VKDOO FRQWLQXH LQ IRUFH DV RI 'DWH RI 3ROLF\ LQ IDYRU RI DQ ,QVXUHG EXW RQO\ VR ORQJ DV WKH ,QVXUHG UHWDLQV DQ HVWDWH RU
     LQWHUHVW LQ WKH /DQG RU KROGV DQ REOLJDWLRQ VHFXUHG E\ D SXUFKDVH PRQH\ 0RUWJDJH JLYHQ E\ D SXUFKDVHU IURP WKH ,QVXUHG RU RQO\ VR ORQJ DV WKH
     ,QVXUHG VKDOO KDYH OLDELOLW\ E\ UHDVRQ RI ZDUUDQWLHV LQ DQ\ WUDQVIHU RU FRQYH\DQFH RI WKH 7LWOH 7KLV SROLF\ VKDOO QRW FRQWLQXH LQ IRUFH LQ IDYRU RI DQ\
     SXUFKDVHU IURP WKH ,QVXUHG RI HLWKHU L DQ HVWDWH RU LQWHUHVW LQ WKH /DQG RU LL DQ REOLJDWLRQ VHFXUHG E\ D SXUFKDVH PRQH\ 0RUWJDJH JLYHQ WR WKH
     ,QVXUHG
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     7KH ,QVXUHG VKDOO QRWLI\ WKH &RPSDQ\ SURPSWO\ LQ ZULWLQJ L LQ FDVH RI DQ\ OLWLJDWLRQ DV VHW IRUWK LQ 6HFWLRQ  D RI WKHVH &RQGLWLRQV LL LQ FDVH
     .QRZOHGJH VKDOO FRPH WR DQ ,QVXUHG KHUHXQGHU RI DQ\ FODLP RI WLWOH RU LQWHUHVW WKDW LV DGYHUVH WR WKH 7LWOH DV LQVXUHG DQG WKDW PLJKW FDXVH ORVV RU
     GDPDJH IRU ZKLFK WKH &RPSDQ\ PD\ EH OLDEOH E\ YLUWXH RI WKLV SROLF\ RU LLL LI WKH 7LWOH DV LQVXUHG LV UHMHFWHG DV 8QPDUNHWDEOH 7LWOH ,I WKH
     &RPSDQ\ LV SUHMXGLFHG E\ WKH IDLOXUH RI WKH ,QVXUHG &ODLPDQW WR SURYLGH SURPSW QRWLFH WKH &RPSDQ\¶V OLDELOLW\ WR WKH ,QVXUHG &ODLPDQW XQGHU WKH
     SROLF\ VKDOO EH UHGXFHG WR WKH H[WHQW RI WKH SUHMXGLFH
   3522) 2) /266
     ,Q WKH HYHQW WKH &RPSDQ\ LV XQDEOH WR GHWHUPLQH WKH DPRXQW RI ORVV RU GDPDJH WKH &RPSDQ\ PD\ DW LWV RSWLRQ UHTXLUH DV D FRQGLWLRQ RI SD\PHQW
     WKDW WKH ,QVXUHG &ODLPDQW IXUQLVK D VLJQHG SURRI RI ORVV 7KH SURRI RI ORVV PXVW GHVFULEH WKH GHIHFW OLHQ HQFXPEUDQFH RU RWKHU PDWWHU LQVXUHG
     DJDLQVW E\ WKLV SROLF\ WKDW FRQVWLWXWHV WKH EDVLV RI ORVV RU GDPDJH DQG VKDOO VWDWH WR WKH H[WHQW SRVVLEOH WKH EDVLV RI FDOFXODWLQJ WKH DPRXQW RI WKH
     ORVV RU GDPDJH



&RS\ULJKW $PHULFDQ /DQG 7LWOH $VVRFLDWLRQ $OO ULJKWV UHVHUYHG

7KH XVH RI WKLV )RUP RU DQ\ GHULYDWLYH WKHUHRI LV UHVWULFWHG WR $/7$ OLFHQVHHV DQG $/7$ PHPEHUV LQ JRRG VWDQGLQJ DV
RI WKH GDWH RI XVH $OO RWKHU XVHV DUH SURKLELWHG 5HSULQWHG XQGHU OLFHQVH IURP WKH $PHULFDQ /DQG 7LWOH $VVRFLDWLRQ
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     D    8SRQ ZULWWHQ UHTXHVW E\ WKH ,QVXUHG DQG VXEMHFW WR WKH RSWLRQV FRQWDLQHG LQ 6HFWLRQ  RI WKHVH &RQGLWLRQV WKH &RPSDQ\ DW LWV RZQ FRVW DQG
          ZLWKRXW XQUHDVRQDEOH GHOD\ VKDOO SURYLGH IRU WKH GHIHQVH RI DQ ,QVXUHG LQ OLWLJDWLRQ LQ ZKLFK DQ\ WKLUG SDUW\ DVVHUWV D FODLP FRYHUHG E\ WKLV
          SROLF\ DGYHUVH WR WKH ,QVXUHG 7KLV REOLJDWLRQ LV OLPLWHG WR RQO\ WKRVH VWDWHG FDXVHV RI DFWLRQ DOOHJLQJ PDWWHUV LQVXUHG DJDLQVW E\ WKLV SROLF\
          7KH &RPSDQ\ VKDOO KDYH WKH ULJKW WR VHOHFW FRXQVHO RI LWV FKRLFH VXEMHFW WR WKH ULJKW RI WKH ,QVXUHG WR REMHFW IRU UHDVRQDEOH FDXVH WR
          UHSUHVHQW WKH ,QVXUHG DV WR WKRVH VWDWHG FDXVHV RI DFWLRQ ,W VKDOO QRW EH OLDEOH IRU DQG ZLOO QRW SD\ WKH IHHV RI DQ\ RWKHU FRXQVHO 7KH
          &RPSDQ\ ZLOO QRW SD\ DQ\ IHHV FRVWV RU H[SHQVHV LQFXUUHG E\ WKH ,QVXUHG LQ WKH GHIHQVH RI WKRVH FDXVHV RI DFWLRQ WKDW DOOHJH PDWWHUV QRW
          LQVXUHG DJDLQVW E\ WKLV SROLF\
     E    7KH &RPSDQ\ VKDOO KDYH WKH ULJKW LQ DGGLWLRQ WR WKH RSWLRQV FRQWDLQHG LQ 6HFWLRQ  RI WKHVH &RQGLWLRQV DW LWV RZQ FRVW WR LQVWLWXWH DQG
          SURVHFXWH DQ\ DFWLRQ RU SURFHHGLQJ RU WR GR DQ\ RWKHU DFW WKDW LQ LWV RSLQLRQ PD\ EH QHFHVVDU\ RU GHVLUDEOH WR HVWDEOLVK WKH 7LWOH DV LQVXUHG
          RU WR SUHYHQW RU UHGXFH ORVV RU GDPDJH WR WKH ,QVXUHG 7KH &RPSDQ\ PD\ WDNH DQ\ DSSURSULDWH DFWLRQ XQGHU WKH WHUPV RI WKLV SROLF\ ZKHWKHU
          RU QRW LW VKDOO EH OLDEOH WR WKH ,QVXUHG 7KH H[HUFLVH RI WKHVH ULJKWV VKDOO QRW EH DQ DGPLVVLRQ RI OLDELOLW\ RU ZDLYHU RI DQ\ SURYLVLRQ RI WKLV
          SROLF\ ,I WKH &RPSDQ\ H[HUFLVHV LWV ULJKWV XQGHU WKLV VXEVHFWLRQ LW PXVW GR VR GLOLJHQWO\
     F    :KHQHYHU WKH &RPSDQ\ EULQJV DQ DFWLRQ RU DVVHUWV D GHIHQVH DV UHTXLUHG RU SHUPLWWHG E\ WKLV SROLF\ WKH &RPSDQ\ PD\ SXUVXH WKH OLWLJDWLRQ
          WR D ILQDO GHWHUPLQDWLRQ E\ D FRXUW RI FRPSHWHQW MXULVGLFWLRQ DQG LW H[SUHVVO\ UHVHUYHV WKH ULJKW LQ LWV VROH GLVFUHWLRQ WR DSSHDO DQ\ DGYHUVH
          MXGJPHQW RU RUGHU
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     D    ,Q DOO FDVHV ZKHUH WKLV SROLF\ SHUPLWV RU UHTXLUHV WKH &RPSDQ\ WR SURVHFXWH RU SURYLGH IRU WKH GHIHQVH RI DQ\ DFWLRQ RU SURFHHGLQJ DQG DQ\
          DSSHDOV WKH ,QVXUHG VKDOO VHFXUH WR WKH &RPSDQ\ WKH ULJKW WR VR SURVHFXWH RU SURYLGH GHIHQVH LQ WKH DFWLRQ RU SURFHHGLQJ LQFOXGLQJ WKH ULJKW
          WR XVH DW LWV RSWLRQ WKH QDPH RI WKH ,QVXUHG IRU WKLV SXUSRVH :KHQHYHU UHTXHVWHG E\ WKH &RPSDQ\ WKH ,QVXUHG DW WKH &RPSDQ\¶V
          H[SHQVH VKDOO JLYH WKH &RPSDQ\ DOO UHDVRQDEOH DLG L LQ VHFXULQJ HYLGHQFH REWDLQLQJ ZLWQHVVHV SURVHFXWLQJ RU GHIHQGLQJ WKH DFWLRQ RU
          SURFHHGLQJ RU HIIHFWLQJ VHWWOHPHQW DQG LL LQ DQ\ RWKHU ODZIXO DFW WKDW LQ WKH RSLQLRQ RI WKH &RPSDQ\ PD\ EH QHFHVVDU\ RU GHVLUDEOH WR
          HVWDEOLVK WKH 7LWOH RU DQ\ RWKHU PDWWHU DV LQVXUHG ,I WKH &RPSDQ\ LV SUHMXGLFHG E\ WKH IDLOXUH RI WKH ,QVXUHG WR IXUQLVK WKH UHTXLUHG
          FRRSHUDWLRQ WKH &RPSDQ\¶V REOLJDWLRQV WR WKH ,QVXUHG XQGHU WKH SROLF\ VKDOO WHUPLQDWH LQFOXGLQJ DQ\ OLDELOLW\ RU REOLJDWLRQ WR GHIHQG
          SURVHFXWH RU FRQWLQXH DQ\ OLWLJDWLRQ ZLWK UHJDUG WR WKH PDWWHU RU PDWWHUV UHTXLULQJ VXFK FRRSHUDWLRQ
     E    7KH &RPSDQ\ PD\ UHDVRQDEO\ UHTXLUH WKH ,QVXUHG &ODLPDQW WR VXEPLW WR H[DPLQDWLRQ XQGHU RDWK E\ DQ\ DXWKRUL]HG UHSUHVHQWDWLYH RI WKH
          &RPSDQ\ DQG WR SURGXFH IRU H[DPLQDWLRQ LQVSHFWLRQ DQG FRS\LQJ DW VXFK UHDVRQDEOH WLPHV DQG SODFHV DV PD\ EH GHVLJQDWHG E\ WKH
          DXWKRUL]HG UHSUHVHQWDWLYH RI WKH &RPSDQ\ DOO UHFRUGV LQ ZKDWHYHU PHGLXP PDLQWDLQHG LQFOXGLQJ ERRNV OHGJHUV FKHFNV PHPRUDQGD
          FRUUHVSRQGHQFH UHSRUWV HPDLOV GLVNV WDSHV DQG YLGHRV ZKHWKHU EHDULQJ D GDWH EHIRUH RU DIWHU 'DWH RI 3ROLF\ WKDW UHDVRQDEO\ SHUWDLQ WR
          WKH ORVV RU GDPDJH )XUWKHU LI UHTXHVWHG E\ DQ\ DXWKRUL]HG UHSUHVHQWDWLYH RI WKH &RPSDQ\ WKH ,QVXUHG &ODLPDQW VKDOO JUDQW LWV SHUPLVVLRQ
          LQ ZULWLQJ IRU DQ\ DXWKRUL]HG UHSUHVHQWDWLYH RI WKH &RPSDQ\ WR H[DPLQH LQVSHFW DQG FRS\ DOO RI WKHVH UHFRUGV LQ WKH FXVWRG\ RU FRQWURO RI D
          WKLUG SDUW\ WKDW UHDVRQDEO\ SHUWDLQ WR WKH ORVV RU GDPDJH $OO LQIRUPDWLRQ GHVLJQDWHG DV FRQILGHQWLDO E\ WKH ,QVXUHG &ODLPDQW SURYLGHG WR WKH
          &RPSDQ\ SXUVXDQW WR WKLV 6HFWLRQ VKDOO QRW EH GLVFORVHG WR RWKHUV XQOHVV LQ WKH UHDVRQDEOH MXGJPHQW RI WKH &RPSDQ\ LW LV QHFHVVDU\ LQ WKH
          DGPLQLVWUDWLRQ RI WKH FODLP )DLOXUH RI WKH ,QVXUHG &ODLPDQW WR VXEPLW IRU H[DPLQDWLRQ XQGHU RDWK SURGXFH DQ\ UHDVRQDEO\ UHTXHVWHG
          LQIRUPDWLRQ RU JUDQW SHUPLVVLRQ WR VHFXUH UHDVRQDEO\ QHFHVVDU\ LQIRUPDWLRQ IURP WKLUG SDUWLHV DV UHTXLUHG LQ WKLV VXEVHFWLRQ XQOHVV
          SURKLELWHG E\ ODZ RU JRYHUQPHQWDO UHJXODWLRQ VKDOO WHUPLQDWH DQ\ OLDELOLW\ RI WKH &RPSDQ\ XQGHU WKLV SROLF\ DV WR WKDW FODLP
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     ,Q FDVH RI D FODLP XQGHU WKLV SROLF\ WKH &RPSDQ\ VKDOO KDYH WKH IROORZLQJ DGGLWLRQDO RSWLRQV
     D    7R 3D\ RU 7HQGHU 3D\PHQW RI WKH $PRXQW RI ,QVXUDQFH
          7R SD\ RU WHQGHU SD\PHQW RI WKH $PRXQW RI ,QVXUDQFH XQGHU WKLV SROLF\ WRJHWKHU ZLWK DQ\ FRVWV DWWRUQH\V¶ IHHV DQG H[SHQVHV LQFXUUHG E\ WKH
          ,QVXUHG &ODLPDQW WKDW ZHUH DXWKRUL]HG E\ WKH &RPSDQ\ XS WR WKH WLPH RI SD\PHQW RU WHQGHU RI SD\PHQW DQG WKDW WKH &RPSDQ\ LV REOLJDWHG
          WR SD\
          8SRQ WKH H[HUFLVH E\ WKH &RPSDQ\ RI WKLV RSWLRQ DOO OLDELOLW\ DQG REOLJDWLRQV RI WKH &RPSDQ\ WR WKH ,QVXUHG XQGHU WKLV SROLF\ RWKHU WKDQ WR
          PDNH WKH SD\PHQW UHTXLUHG LQ WKLV VXEVHFWLRQ VKDOO WHUPLQDWH LQFOXGLQJ DQ\ OLDELOLW\ RU REOLJDWLRQ WR GHIHQG SURVHFXWH RU FRQWLQXH DQ\
          OLWLJDWLRQ
     E    7R 3D\ RU 2WKHUZLVH 6HWWOH :LWK 3DUWLHV 2WKHU 7KDQ WKH ,QVXUHG RU :LWK WKH ,QVXUHG &ODLPDQW
           L    7R SD\ RU RWKHUZLVH VHWWOH ZLWK RWKHU SDUWLHV IRU RU LQ WKH QDPH RI DQ ,QVXUHG &ODLPDQW DQ\ FODLP LQVXUHG DJDLQVW XQGHU WKLV SROLF\ ,Q
                DGGLWLRQ WKH &RPSDQ\ ZLOO SD\ DQ\ FRVWV DWWRUQH\V¶ IHHV DQG H[SHQVHV LQFXUUHG E\ WKH ,QVXUHG &ODLPDQW WKDW ZHUH DXWKRUL]HG E\ WKH
                &RPSDQ\ XS WR WKH WLPH RI SD\PHQW DQG WKDW WKH &RPSDQ\ LV REOLJDWHG WR SD\ RU
           LL   WR SD\ RU RWKHUZLVH VHWWOH ZLWK WKH ,QVXUHG &ODLPDQW WKH ORVV RU GDPDJH SURYLGHG IRU XQGHU WKLV SROLF\ WRJHWKHU ZLWK DQ\ FRVWV DWWRUQH\V¶
                IHHV DQG H[SHQVHV LQFXUUHG E\ WKH ,QVXUHG &ODLPDQW WKDW ZHUH DXWKRUL]HG E\ WKH &RPSDQ\ XS WR WKH WLPH RI SD\PHQW DQG WKDW WKH
                &RPSDQ\ LV REOLJDWHG WR SD\
          8SRQ WKH H[HUFLVH E\ WKH &RPSDQ\ RI HLWKHU RI WKH RSWLRQV SURYLGHG IRU LQ VXEVHFWLRQV E L RU LL  WKH &RPSDQ\¶V REOLJDWLRQV WR WKH ,QVXUHG
          XQGHU WKLV SROLF\ IRU WKH FODLPHG ORVV RU GDPDJH RWKHU WKDQ WKH SD\PHQWV UHTXLUHG WR EH PDGH VKDOO WHUPLQDWH LQFOXGLQJ DQ\ OLDELOLW\ RU
          REOLJDWLRQ WR GHIHQG SURVHFXWH RU FRQWLQXH DQ\ OLWLJDWLRQ
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     7KLV SROLF\ LV D FRQWUDFW RI LQGHPQLW\ DJDLQVW DFWXDO PRQHWDU\ ORVV RU GDPDJH VXVWDLQHG RU LQFXUUHG E\ WKH ,QVXUHG &ODLPDQW ZKR KDV VXIIHUHG ORVV
     RU GDPDJH E\ UHDVRQ RI PDWWHUV LQVXUHG DJDLQVW E\ WKLV SROLF\



&RS\ULJKW $PHULFDQ /DQG 7LWOH $VVRFLDWLRQ $OO ULJKWV UHVHUYHG

7KH XVH RI WKLV )RUP RU DQ\ GHULYDWLYH WKHUHRI LV UHVWULFWHG WR $/7$ OLFHQVHHV DQG $/7$ PHPEHUV LQ JRRG VWDQGLQJ DV
RI WKH GDWH RI XVH $OO RWKHU XVHV DUH SURKLELWHG 5HSULQWHG XQGHU OLFHQVH IURP WKH $PHULFDQ /DQG 7LWOH $VVRFLDWLRQ
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     D    7KH H[WHQW RI OLDELOLW\ RI WKH &RPSDQ\ IRU ORVV RU GDPDJH XQGHU WKLV SROLF\ VKDOO QRW H[FHHG WKH OHVVHU RI
           L    WKH $PRXQW RI ,QVXUDQFH RU
           LL   WKH GLIIHUHQFH EHWZHHQ WKH YDOXH RI WKH 7LWOH DV LQVXUHG DQG WKH YDOXH RI WKH 7LWOH VXEMHFW WR WKH ULVN LQVXUHG DJDLQVW E\ WKLV SROLF\
     E    ,I WKH &RPSDQ\ SXUVXHV LWV ULJKWV XQGHU 6HFWLRQ  RI WKHVH &RQGLWLRQV DQG LV XQVXFFHVVIXO LQ HVWDEOLVKLQJ WKH 7LWOH DV LQVXUHG
           L    WKH $PRXQW RI ,QVXUDQFH VKDOO EH LQFUHDVHG E\ 7HQ SHUFHQW   DQG
           LL   WKH ,QVXUHG &ODLPDQW VKDOO KDYH WKH ULJKW WR KDYH WKH ORVV RU GDPDJH GHWHUPLQHG HLWKHU DV RI WKH GDWH WKH FODLP ZDV PDGH E\ WKH
                ,QVXUHG &ODLPDQW RU DV RI WKH GDWH LW LV VHWWOHG DQG SDLG
     F    ,Q DGGLWLRQ WR WKH H[WHQW RI OLDELOLW\ XQGHU D DQG E  WKH &RPSDQ\ ZLOO DOVR SD\ WKRVH FRVWV DWWRUQH\V¶ IHHV DQG H[SHQVHV LQFXUUHG LQ
          DFFRUGDQFH ZLWK 6HFWLRQV  DQG  RI WKHVH &RQGLWLRQV
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     D    ,I WKH &RPSDQ\ HVWDEOLVKHV WKH 7LWOH RU UHPRYHV WKH DOOHJHG GHIHFW OLHQ RU HQFXPEUDQFH RU FXUHV WKH ODFN RI D ULJKW RI DFFHVV WR RU IURP WKH
          /DQG RU FXUHV WKH FODLP RI 8QPDUNHWDEOH 7LWOH DOO DV LQVXUHG LQ D UHDVRQDEO\ GLOLJHQW PDQQHU E\ DQ\ PHWKRG LQFOXGLQJ OLWLJDWLRQ DQG WKH
          FRPSOHWLRQ RI DQ\ DSSHDOV LW VKDOO KDYH IXOO\ SHUIRUPHG LWV REOLJDWLRQV ZLWK UHVSHFW WR WKDW PDWWHU DQG VKDOO QRW EH OLDEOH IRU DQ\ ORVV RU
          GDPDJH FDXVHG WR WKH ,QVXUHG
     E    ,Q WKH HYHQW RI DQ\ OLWLJDWLRQ LQFOXGLQJ OLWLJDWLRQ E\ WKH &RPSDQ\ RU ZLWK WKH &RPSDQ\¶V FRQVHQW WKH &RPSDQ\ VKDOO KDYH QR OLDELOLW\ IRU ORVV
          RU GDPDJH XQWLO WKHUH KDV EHHQ D ILQDO GHWHUPLQDWLRQ E\ D FRXUW RI FRPSHWHQW MXULVGLFWLRQ DQG GLVSRVLWLRQ RI DOO DSSHDOV DGYHUVH WR WKH 7LWOH
          DV LQVXUHG
     F    7KH &RPSDQ\ VKDOO QRW EH OLDEOH IRU ORVV RU GDPDJH WR WKH ,QVXUHG IRU OLDELOLW\ YROXQWDULO\ DVVXPHG E\ WKH ,QVXUHG LQ VHWWOLQJ DQ\ FODLP RU VXLW
          ZLWKRXW WKH SULRU ZULWWHQ FRQVHQW RI WKH &RPSDQ\
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     $OO SD\PHQWV XQGHU WKLV SROLF\ H[FHSW SD\PHQWV PDGH IRU FRVWV DWWRUQH\V¶ IHHV DQG H[SHQVHV VKDOO UHGXFH WKH $PRXQW RI ,QVXUDQFH E\ WKH
     DPRXQW RI WKH SD\PHQW
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     7KH $PRXQW RI ,QVXUDQFH VKDOO EH UHGXFHG E\ DQ\ DPRXQW WKH &RPSDQ\ SD\V XQGHU DQ\ SROLF\ LQVXULQJ D 0RUWJDJH WR ZKLFK H[FHSWLRQ LV WDNHQ LQ
     6FKHGXOH % RU WR ZKLFK WKH ,QVXUHG KDV DJUHHG DVVXPHG RU WDNHQ VXEMHFW RU ZKLFK LV H[HFXWHG E\ DQ ,QVXUHG DIWHU 'DWH RI 3ROLF\ DQG ZKLFK LV D
     FKDUJH RU OLHQ RQ WKH 7LWOH DQG WKH DPRXQW VR SDLG VKDOO EH GHHPHG D SD\PHQW WR WKH ,QVXUHG XQGHU WKLV SROLF\
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     :KHQ OLDELOLW\ DQG WKH H[WHQW RI ORVV RU GDPDJH KDYH EHHQ GHILQLWHO\ IL[HG LQ DFFRUGDQFH ZLWK WKHVH &RQGLWLRQV WKH SD\PHQW VKDOO EH PDGH ZLWKLQ
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     D    :KHQHYHU WKH &RPSDQ\ VKDOO KDYH VHWWOHG DQG SDLG D FODLP XQGHU WKLV SROLF\ LW VKDOO EH VXEURJDWHG DQG HQWLWOHG WR WKH ULJKWV RI WKH ,QVXUHG
          &ODLPDQW LQ WKH 7LWOH DQG DOO RWKHU ULJKWV DQG UHPHGLHV LQ UHVSHFW WR WKH FODLP WKDW WKH ,QVXUHG &ODLPDQW KDV DJDLQVW DQ\ SHUVRQ RU SURSHUW\ WR
          WKH H[WHQW RI WKH DPRXQW RI DQ\ ORVV FRVWV DWWRUQH\V¶ IHHV DQG H[SHQVHV SDLG E\ WKH &RPSDQ\ ,I UHTXHVWHG E\ WKH &RPSDQ\ WKH ,QVXUHG
          &ODLPDQW VKDOO H[HFXWH GRFXPHQWV WR HYLGHQFH WKH WUDQVIHU WR WKH &RPSDQ\ RI WKHVH ULJKWV DQG UHPHGLHV 7KH ,QVXUHG &ODLPDQW VKDOO SHUPLW
          WKH &RPSDQ\ WR VXH FRPSURPLVH RU VHWWOH LQ WKH QDPH RI WKH ,QVXUHG &ODLPDQW DQG WR XVH WKH QDPH RI WKH ,QVXUHG &ODLPDQW LQ DQ\
          WUDQVDFWLRQ RU OLWLJDWLRQ LQYROYLQJ WKHVH ULJKWV DQG UHPHGLHV
          ,I D SD\PHQW RQ DFFRXQW RI D FODLP GRHV QRW IXOO\ FRYHU WKH ORVV RI WKH ,QVXUHG &ODLPDQW WKH &RPSDQ\ VKDOO GHIHU WKH H[HUFLVH RI LWV ULJKW WR
          UHFRYHU XQWLO DIWHU WKH ,QVXUHG &ODLPDQW VKDOO KDYH UHFRYHUHG LWV ORVV
     E    7KH &RPSDQ\¶V ULJKW RI VXEURJDWLRQ LQFOXGHV WKH ULJKWV RI WKH ,QVXUHG WR LQGHPQLWLHV JXDUDQWLHV RWKHU SROLFLHV RI LQVXUDQFH RU ERQGV
          QRWZLWKVWDQGLQJ DQ\ WHUPV RU FRQGLWLRQV FRQWDLQHG LQ WKRVH LQVWUXPHQWV WKDW DGGUHVV VXEURJDWLRQ ULJKWV
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     (LWKHU WKH &RPSDQ\ RU WKH ,QVXUHG PD\ GHPDQG WKDW WKH FODLP RU FRQWURYHUV\ VKDOO EH VXEPLWWHG WR DUELWUDWLRQ SXUVXDQW WR WKH 7LWOH ,QVXUDQFH
     $UELWUDWLRQ 5XOHV RI WKH $PHULFDQ /DQG 7LWOH $VVRFLDWLRQ 5XOHV  ([FHSW DV SURYLGHG LQ WKH 5XOHV WKHUH VKDOO EH QR MRLQGHU RU FRQVROLGDWLRQ ZLWK
     FODLPV RU FRQWURYHUVLHV RI RWKHU SHUVRQV $UELWUDEOH PDWWHUV PD\ LQFOXGH EXW DUH QRW OLPLWHG WR DQ\ FRQWURYHUV\ RU FODLP EHWZHHQ WKH &RPSDQ\
     DQG WKH ,QVXUHG DULVLQJ RXW RI RU UHODWLQJ WR WKLV SROLF\ DQ\ VHUYLFH LQ FRQQHFWLRQ ZLWK LWV LVVXDQFH RU WKH EUHDFK RI D SROLF\ SURYLVLRQ RU WR DQ\
     RWKHU FRQWURYHUV\ RU FODLP DULVLQJ RXW RI WKH WUDQVDFWLRQ JLYLQJ ULVH WR WKLV SROLF\ $OO DUELWUDEOH PDWWHUV ZKHQ WKH $PRXQW RI ,QVXUDQFH LV 7ZR
     0LOOLRQ DQG 1R 'ROODUV  RU OHVV VKDOO EH DUELWUDWHG DW WKH RSWLRQ RI HLWKHU WKH &RPSDQ\ RU WKH ,QVXUHG $OO DUELWUDEOH PDWWHUV ZKHQ
     WKH $PRXQW RI ,QVXUDQFH LV LQ H[FHVV RI 7ZR 0LOOLRQ DQG 1R 'ROODUV  VKDOO EH DUELWUDWHG RQO\ ZKHQ DJUHHG WR E\ ERWK WKH &RPSDQ\
     DQG WKH ,QVXUHG $UELWUDWLRQ SXUVXDQW WR WKLV SROLF\ DQG XQGHU WKH 5XOHV VKDOO EH ELQGLQJ XSRQ WKH SDUWLHV -XGJPHQW XSRQ WKH DZDUG UHQGHUHG E\
     WKH $UELWUDWRU V PD\ EH HQWHUHG LQ DQ\ FRXUW RI FRPSHWHQW MXULVGLFWLRQ 127 9$/,' ,1 7+( 67$7( 2) /28,6,$1$
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     D    7KLV SROLF\ WRJHWKHU ZLWK DOO HQGRUVHPHQWV LI DQ\ DWWDFKHG WR LW E\ WKH &RPSDQ\ LV WKH HQWLUH SROLF\ DQG FRQWUDFW EHWZHHQ WKH ,QVXUHG DQG WKH
          &RPSDQ\ ,Q LQWHUSUHWLQJ DQ\ SURYLVLRQ RI WKLV SROLF\ WKLV SROLF\ VKDOO EH FRQVWUXHG DV D ZKROH
     E    $Q\ FODLP RI ORVV RU GDPDJH WKDW DULVHV RXW RI WKH VWDWXV RI WKH 7LWOH RU E\ DQ\ DFWLRQ DVVHUWLQJ VXFK FODLP VKDOO EH UHVWULFWHG WR WKLV SROLF\
     F    $Q\ DPHQGPHQW RI RU HQGRUVHPHQW WR WKLV SROLF\ PXVW EH LQ ZULWLQJ DQG DXWKHQWLFDWHG E\ DQ DXWKRUL]HG SHUVRQ RU H[SUHVVO\ LQFRUSRUDWHG E\
          6FKHGXOH $ RI WKLV SROLF\


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7KH XVH RI WKLV )RUP RU DQ\ GHULYDWLYH WKHUHRI LV UHVWULFWHG WR $/7$ OLFHQVHHV DQG $/7$ PHPEHUV LQ JRRG VWDQGLQJ DV
RI WKH GDWH RI XVH $OO RWKHU XVHV DUH SURKLELWHG 5HSULQWHG XQGHU OLFHQVH IURP WKH $PHULFDQ /DQG 7LWOH $VVRFLDWLRQ
$/7$ 2ZQHU V 3ROLF\   /$                                                                                   3ULQWHG  #  30
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     G    (DFK HQGRUVHPHQW WR WKLV SROLF\ LVVXHG DW DQ\ WLPH LV PDGH D SDUW RI WKLV SROLF\ DQG LV VXEMHFW WR DOO RI LWV WHUPV DQG SURYLVLRQV ([FHSW DV
          WKH HQGRUVHPHQW H[SUHVVO\ VWDWHV LW GRHV QRW L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQW
           LLL H[WHQG WKH 'DWH RI 3ROLF\ RU LY LQFUHDVH WKH $PRXQW RI ,QVXUDQFH
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     ,Q WKH HYHQW DQ\ SURYLVLRQ RI WKLV SROLF\ LQ ZKROH RU LQ SDUW LV KHOG LQYDOLG RU XQHQIRUFHDEOH XQGHU DSSOLFDEOH ODZ WKH SROLF\ VKDOO EH GHHPHG QRW WR
     LQFOXGH WKDW SURYLVLRQ RU VXFK SDUW KHOG WR EH LQYDOLG EXW DOO RWKHU SURYLVLRQV VKDOO UHPDLQ LQ IXOO IRUFH DQG HIIHFW
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     D    &KRLFH RI /DZ 7KH ,QVXUHG DFNQRZOHGJHV WKH &RPSDQ\ KDV XQGHUZULWWHQ WKH ULVNV FRYHUHG E\ WKLV SROLF\ DQG GHWHUPLQHG WKH SUHPLXP
          FKDUJHG WKHUHIRU LQ UHOLDQFH XSRQ WKH ODZ DIIHFWLQJ LQWHUHVWV LQ UHDO SURSHUW\ DQG DSSOLFDEOH WR WKH LQWHUSUHWDWLRQ ULJKWV UHPHGLHV RU
          HQIRUFHPHQW RI SROLFLHV RI WLWOH LQVXUDQFH RI WKH MXULVGLFWLRQ ZKHUH WKH /DQG LV ORFDWHG
          7KHUHIRUH WKH FRXUW RU DQ DUELWUDWRU VKDOO DSSO\ WKH ODZ RI WKH MXULVGLFWLRQ ZKHUH WKH /DQG LV ORFDWHG WR GHWHUPLQH WKH YDOLGLW\ RI FODLPV DJDLQVW
          WKH 7LWOH WKDW DUH DGYHUVH WR WKH ,QVXUHG DQG WR LQWHUSUHW DQG HQIRUFH WKH WHUPV RI WKLV SROLF\ ,Q QHLWKHU FDVH VKDOO WKH FRXUW RU DUELWUDWRU DSSO\
          LWV FRQIOLFWV RI ODZ SULQFLSOHV WR GHWHUPLQH WKH DSSOLFDEOH ODZ
     E    &KRLFH RI )RUXP $Q\ OLWLJDWLRQ RU RWKHU SURFHHGLQJ EURXJKW E\ WKH ,QVXUHG DJDLQVW WKH &RPSDQ\ PXVW EH ILOHG RQO\ LQ D VWDWH RU IHGHUDO FRXUW
          ZLWKLQ WKH 8QLWHG 6WDWHV RI $PHULFD RU LWV WHUULWRULHV KDYLQJ DSSURSULDWH MXULVGLFWLRQ
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     $Q\ QRWLFH RI FODLP DQG DQ\ RWKHU QRWLFH RU VWDWHPHQW LQ ZULWLQJ UHTXLUHG WR EH JLYHQ WR WKH &RPSDQ\ XQGHU WKLV SROLF\ PXVW EH JLYHQ WR WKH
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     D DFFRUGLQJ WR DSSOLFDEOH ]RQLQJ RUGLQDQFHV DQG DPHQGPHQWV WKH /DQG LV QRW FODVVLILHG =RQH 1R =RQLQJ
     E WKH IROORZLQJ XVH RU XVHV DUH QRW DOORZHG XQGHU WKDW FODVVLILFDWLRQ
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     F   7KHUH VKDOO EH QR OLDELOLW\ XQGHU SDUDJUDSK E LI WKH XVH RU XVHV DUH QRW DOORZHG DV WKH UHVXOW RI DQ\ ODFN RI
          FRPSOLDQFH ZLWK DQ\ FRQGLWLRQV UHVWULFWLRQV RU UHTXLUHPHQWV FRQWDLQHG LQ WKH ]RQLQJ RUGLQDQFHV DQG
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     E )ORRU VSDFH DUHD RI WKH VWUXFWXUH
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     H 1XPEHU RI SDUNLQJ VSDFHV
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     D WKH LQYDOLGLW\ RI WKH ]RQLQJ RUGLQDQFHV DQG DPHQGPHQWV XQWLO DIWHU D ILQDO GHFUHH RI D FRXUW RI FRPSHWHQW
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     E WKH UHIXVDO RI DQ\ SHUVRQ WR SXUFKDVH OHDVH RU OHQG PRQH\ RQ WKH 7LWOH FRYHUHG E\ WKLV SROLF\




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SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL H[WHQG WKH 'DWH RI 3ROLF\ RU LY LQFUHDVH WKH $PRXQW RI
,QVXUDQFH 7R WKH H[WHQW D SURYLVLRQ RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI
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                               Annex 4
                        Seller’s Title Affidavit
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                               Annex 5
                   Affidavit and Indemnity Agreement
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                              Annex 6
                            Form 1099-S
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                              Annex 7
                            Resolutions
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                              Annex 8
                          Closing Statement
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                              Annex 9
                        Wire Confirmation #1
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                                                                                                                                March 31 to April 29, 2022



                                                                                                                                                                                  Your Activity
                                                                                                                                                   Time and Water, LLC Account No. 210KC134

Activity Summary
Deposits                                                                   Withdrawals
Type                              This Statement          Year to Date     Type                          This Statement     Year to Date
Deposits                                 $52,855.04      $2,782,757.57     Debit Card                            $0.00          $(594.00)
Total Deposits                           $52,855.04      $2,782,757.57     Withdrawals                    $(764,978.30)    $(6,164,137.33)
                                                                           Total Withdrawals              $(764,978.30)    $(6,164,731.33)
Income
Type                              This Statement          Year to Date
Interest - Taxable                            $2.32             $60.43
Interest at RJ Bank                           $6.96             $27.84
Deposit Program
Total Income                                  $9.28             $88.27



Activity Detail
                                                                                               Check/
                     Activity                                                                  Deposit
    Date             Category     Activity Type       Description (Symbol or CUSIP)            Code             Quantity             Price                Amount         Cash Balance Additional Detail

                                                      Beginning Balance                                                                                                  $1,665,761.51

    04/04/2022 Withdrawal         Withdrawal          Cash                                                                                          $(508,956.98)        $1,156,804.53 *WIRE TO Fidelity
                                                                                                                                                                                       National Tit
    04/04/2022 Withdrawal         Withdrawal          Cash                                                                                                $(25.00)       $1,156,779.53 WIRE FEE

    04/04/2022 Deposit            Deposit             ACH Deposit                                                                                     $52,855.04         $1,209,634.57 MEX OIL
                                                                                                                                                                                       VENDPMT
    04/14/2022 Withdrawal         Withdrawal          Cash                                                                                          $(250,000.00)          $959,634.57 *WIRE TO Ranju
                                                                                                                                                                                       Narang
    04/14/2022 Withdrawal         Withdrawal          Cash                                                                                                $(25.00)         $959,609.57 WIRE FEE

    04/29/2022 Withdrawal         Withdrawal          ACH Disbursement                                                                                 $(2,809.65)         $956,799.92 LINCOLN AFS
                                                                                                                                                                                       FORDCREDIT
    04/29/2022 Withdrawal         Withdrawal          ACH Disbursement                                                                                 $(3,161.67)         $953,638.25 LINCOLN AFS
                                                                                                                                                                                       FORDCREDIT




                                                                                                                                             Time and Water, LLC - Activity Page 7 of 8
                       210KC134-24-001    3KG/2N2M
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                             Annex 10
                        Wire Confirmation #2
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                             Exhibit C
                         Wadud Declaration
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